      Case 2:19-cv-13553-EEF-MBN Document 76 Filed 12/29/20 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


MILES MORAN, ET AL                                                          CIVIL ACTION

VERSUS                                                                      NO. 19-13553

KEVA LANDRUM-JOHNSON, ET AL                                                 SECTION "L" (5)



                                            ORDER

       Before the Court is the proposed Joint Scheduling Order, R. Doc. 74. Having reviewed the

  parties’ proposal, the Court hereby adopts the scheduling order to govern this case. Accordingly,

       IT IS ORDERED that the parties abide by the deadlines set forth in the document, R. Doc.

74.




        New Orleans, Louisiana, this 23rd day of December, 2020.



                                                     _______________________________
                                                     UNITED STATES DISTRICT JUDGE
